Case 1:23-cv-08292-SHS-OTW   Document 169-3   Filed 07/22/24   Page 1 of 3




             RE D A CTE D
            V E R SI O N O F
              E X HI BI T 3
Case 1:23-cv-08292-SHS-OTW   Document 169-3   Filed 07/22/24   Page 2 of 3
     Case 1:23-cv-08292-SHS-OTW                                     Document 169-3                     Filed 07/22/24               Page 3 of 3

Mi c r o s oft C o u n s el
M a y 2 4, 2 0 2 4
Page 2



                                                           C e rt ai n of t h e s e m at e ri al s a r e r ef e r e n c e d b el o w.

                   T h e r ef o r e, pl e a s e l et u s k n o w b y M a y 3 1 , 2 0 2 4 if Mi c r o s oft will:

             (a) s u p pl e m e nt it s r e s p o n s e s a n d o bj e cti o n s t o Pl ai ntiff s’ Fi r st S et of R F P s a n d, a s
a p p r o p ri a t e, it s i nt er r o g at o r y r e s p o n s e s; a n d

             ( b) c o nfi r m y o u will p r o d u c e , a n d e x p e dit e t h e p r o d u cti o n of , t h e f oll o wi n g ( wit h o ut
p r ej u di c e t o t h e f a ct t h at w e a r e c o nti n ui n g o ur r e vi e w of t h e i nf o r m ati o n): 2

                         




              M et a d at a O mi s si o n: T h e m et a d at a of l a st F ri d a y’s p r o d u cti o n di d n ot i d e ntif y t h e
c u st o di a n s of t h e d at a y o u p r o d u c e d. T h e c u st o di a n i nf o r m ati o n i s si m pl y p o p ul at e d a s
“ Mi c r o s oft. ” P l e a s e r e p r o d u c e t hi s p r o d u cti o n o n o r b ef o r e M a y 3 1 wit h t h e c u st o di al m et a d at a
i nf o r m ati o n i n cl u d e d ( o r a d vi s e e a rl y n e xt w e e k if t h e r e i s a n alt e r n ati v e w a y t o p r o vi d e t h e
s a m e i nf o r m ati o n y o u wi s h t o di s c u s s ).

           R e d a cti o n s f o r R el e v a n c e: T h e r e a r e in st a n c e s of a p p a r e nt r e d a cti o n s f o r r el e v a n c e
i n t h e p r o d u cti o n. S e e, e. g., M S F T _ A I C P Y _ 0 0 0 0 0 4 2 1 0 . Gi v e n t h e i s s u a n c e of a p r ot e cti v e
o r d er, r e d a cti o n s f o r r el e v a n c e al o n e a r e n ot a p p r o p ri at e , a n d w e w o ul d li k e t o m e et a n d c o nf e r
if y o u o pt n ot t o r e p r o d u c e d o c u m e nt s i n t h ei r c o m pl eti o n.

                   W e l o o k f o r w ar d t o h e a ri n g f r o m y o u.                                                  i

                                                                          V e r y t r ul y y o ur s,



                                                                          R a c h el G e m a n


2




3 0 0 4 7 2 3. 1
